Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 1 of 19



                IN THE UNITED STATES DISTRICT COURT


                       FOR THE DISTRICT OF UTAH


                            CENTRAL DIVISION



  In re:                               )
                                       )
  UNITED STATES OF AMERICA,            )
                                       )
               Plaintiff,              )
                                       )
  v.                                   )Case No. 2:17-CR-208CW
                                       )
  TERRY CHARLES DIEHL,                 )
                                       )
               Defendant.              )




                    Transcript of Status Hearing




                BEFORE THE HONORABLE CLARK WADDOUPS


                            December 12, 2017




                       Karen Murakami, CSR, RPR
                         8.430 U.S. Courthouse
                         351 South West Temple
                      Salt Lake City, Utah 84101
                       Telephone: 801-328-4800




                                                                 1
Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 2 of 19



  APPEARANCES OF COUNSEL:




  For the Plaintiff:         JARED C. BENNETT
                             Assistant U.S. Attorney
                             Suite 1800
                             111 South Main Street
                             Salt Lake City, Utah 84111




  For the Defendant:         SMITH CORRELL LLP
                             By D. Loren Washburn
                                Attorney at Law
                             Suite 320
                             8 East Broadway
                             Salt Lake City, Utah 84111




                                                                 2
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 3 of 19



 1          Salt Lake City, Utah, Tuesday, December 12, 2017

 2                                    *    *   *

 3                    THE COURT:      We are here in the matter of the

 4     United States v. Terry Charles Diehl, case 2:17-cr-208.

 5     Will counsel please state their appearance.

 6                    MR. WASHBURN:        Loren Washburn representing

 7     Mr. Diehl.

 8                    MR. BENNETT:        Jared Bennett on behalf of the

 9     United States.

10                    THE COURT:      The purpose of this hearing is

11     basically to discuss how we proceed on Mr. Diehl's

12     motion in terms of talking about a schedule and the

13     issues that we ought to anticipate in terms of how we

14     address that.

15                    Mr. Washburn, we have your motion, are there

16     any other materials you expect to file before we hear

17     from the United States?

18                    MR. WASHBURN:        Your Honor, Mr. Bennett and I

19     discussed that the other day.           I think there are two

20     additional pieces of information that -- we'll defer to

21     the court, but that we talked about possibly filing.

22     One of those is an affidavit from Mr. Diehl regarding

23     his net worth.      We have an assertion in there that he

24     had a net worth under $2 million.            Given the recent

25     bankruptcy we thought that was pretty solid evidence,



                                                                           3
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 4 of 19



 1     but after looking at cases and discussing it with

 2     Mr. Bennett, I think it would be best for us to put an

 3     affidavit to that effect in.           But that's something we'll

 4     submit as a supplement.

 5                    The other thing, and I think here I'd take

 6     the court's direction on this one, as the court may have

 7     seen, I think it's Exhibit T to our motion, was an

 8     affidavit from Mr. Peters where he had collected all the

 9     invoices from all the attorneys and had spelled out a

10     gross number of hours.         That gross number of hours

11     included both pre and post-Indictment, and it didn't

12     include billing entries or any other level of

13     specificity.      I think in that declaration we suggested

14     that we would take the court's lead.             If the court wants

15     a more detailed listing at this point, we're happy to do

16     that.    If on the other hand the court wanted to

17     bifurcate it and determine whether we were entitled to

18     fees before we started looking at the reasonableness of

19     the fees, we're happy to do that as well.              Mr. Bennett I

20     think had suggested that he thought the proper way to

21     proceed, and I suppose I'm speaking for him, but was for

22     us to get that more detailed proffer.             At this point

23     we're happy to do that.         It will take some looking and

24     redacting at whether some of these entries may involve

25     privilege.     And I think together with that -- with that



                                                                              4
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 5 of 19



 1     specific listing of billing records we'll probably

 2     provide an affidavit from Neil Kaplan.              As we mention in

 3     Exhibit T we retained Mr. Kaplan as an expert to advise

 4     the court on -- on advising the court on the necessity

 5     of the various time entries that we've entered.                So he's

 6     been undertaking a review of those billing records as

 7     well, and he would provide an explanation to the court,

 8     or provide testimony, whichever the court believes would

 9     be more helpful, on the necessity and the reasonableness

10     of the hourly expenditures that we've made.

11                    THE COURT:      Mr. Bennett, what's your view?

12                    MR. BENNETT:      My view is based on EAJA, to

13     incorporate EAJA procedures into this litigation.                 And

14     what EAJA requires is seven things, and one of those is

15     detailed billing statements from counsel, because in our

16     response we're supposed to be able to either take issue

17     with or go along with whatever those are.              And so I

18     think EAJA is a matter of what's required in the initial

19     filing, actually requires those detailed billing

20     statements.     And so that's why I think the proper way

21     would be for Mr. Diehl's team to supplement that with

22     those detailed billing statements so we could have one

23     self-contained response that hopefully addresses all of

24     the issues.

25                    As to the expert to kind of opine as to



                                                                                5
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 6 of 19



 1     whether those are necessary, I've never seen an EAJA

 2     case in all the ones that I've litigated and all the

 3     ones that I've looked at that's ever considered that

 4     because that would be yet another expense that would be

 5     added onto potentially.         We need to decide this

 6     according to EAJA on the record as much as possible.            So

 7     I understand the defense's -- or defendant's,

 8     Mr. Diehl's position in this case would be there may be

 9     a need for an expert, there may be a need for discovery.

10     That may be true, but to the extent possible, it should

11     be resolved on the record, which is I think hopefully

12     going to be before the court in short order.

13                    THE COURT:      It does seem to me that there is

14     some merit worth discussing as to whether or not we

15     reach the issue as to the amount of attorneys hours and

16     the reasonableness of whether it was necessary until we

17     decide whether the initial hurdles have been crossed.

18     But if the United States believes that they are required

19     to file all of that before the United States responds, I

20     don't have any objection to that.

21                    MR. WASHBURN:       Neither do we, Your Honor.

22     We can talk about where in the schedule that may set.            I

23     think Mr. Bennett and I have talked about a schedule

24     that made sense for us.         Of course whether that makes

25     sense to the court is a different question.



                                                                            6
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 7 of 19



 1                    THE COURT:      Well, I'll hear you out on that.

 2     But there's one other issue that having read the motion

 3     and considered the issues that are going to be placed in

 4     front of the court, one of the issues will be the need

 5     for the court to review the grand jury proceedings in

 6     terms of what presentations were made to the grand jury.

 7     I don't have a motion from Mr. Diehl yet to release the

 8     grand jury proceedings.         I don't think they need to be

 9     released publically at this point.            I think they can be

10     released for the court's in camera review.               Where are

11     you on that, Mr. Washburn?

12                    MR. WASHBURN:       I suppose there are a couple

13     of different places that could come into play, Your

14     Honor, and so let me take up I think two different

15     versions of the grand jury.          One, and I think this is

16     what you're referring to right now, is a request that

17     the court review -- and we made this general request in

18     our pleadings, but you're correct, we didn't file a

19     specific motion under the rule asking for the disclosure

20     of grand jury materials to the court.             Specifically,

21     that would be something like the presentment of the

22     Indictment, what the United States Attorney's Office

23     said by way of instruction to the grand jury, by way of

24     summation of evidence to the grand jury, perhaps -- it's

25     been my experience that in most of these instances the



                                                                            7
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 8 of 19



 1     record that establishes, or that purports to establish

 2     probable cause before the grand jury usually is a

 3     government agent testifying.            So none of that -- we

 4     haven't filed a motion specifically to that point, Your

 5     Honor.    There's a second -- and so I think that's what

 6     you're asking.      And I suppose since we requested you to

 7     review those documents, under Rule 6(e) -- I forget

 8     exactly the chain because it goes down quite a bit -- I

 9     think that we -- we're happy to file a brief motion

10     moving that the court order the disclosure of those

11     pursuant to I think it's 6(e), whatever the number is,

12     and then capital (E) little (i).

13                    THE COURT:      Right.     Capital (E) small (i).

14                    MR. WASHBURN:       That was my recollection,

15     Your Honor.     So I suppose we ought to move their -- we

16     had some discussion of whether -- I think in our

17     position on the sealing of Mr. Hirata's declaration we

18     had some discussion of whether that constituted a

19     motion.    It sounds like the court would probably rather

20     we just have a direct motion --

21                    THE COURT:      Let me ask Mr. Bennett.         Does

22     the United States intend to oppose such a motion?

23                    MR. BENNETT:      No.     If -- I think -- the

24     statute standard is good cause.            And in this case I

25     think there is good cause for the court to order and for



                                                                             8
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 9 of 19



 1     the United States to produce the matters occurring

 2     before the grand jury.         To that effect, Your Honor,

 3     since I wasn't a prosecutor in this case, I'm taking

 4     this as sort of a civil matter, I was wondering if the

 5     court would grant an oral motion to allow me to review

 6     the 6(e) -- the matters occurring before the grand jury

 7     so that I --

 8                    THE COURT:      Yes, absolutely.       I believe

 9     that's appropriate.

10                    Why don't we see if we can shortcut this.          I

11     don't need any more paper, unless you'd just like to

12     chop down another tree.         But I'm going to treat

13     Mr. Washburn's statement as an appropriate motion under

14     Rule 6(e) to release the grand jury proceedings to the

15     court, not to the public, and take the United States'

16     position as not opposing that motion, and we will enter

17     an order to that effect.         And Mr. Bennett, of course,

18     will be allowed to review those.            And subject to that

19     review, if there's some part of that that you believe

20     should not be released to the court you can raise an

21     objection at that point.         And I think I will need all of

22     the grand jury -- there were several grand jury

23     proceedings in this case.          I think I will need the

24     transcripts for each one of the grand jury proceedings.

25                    So with those ideas in mind, what's the



                                                                             9
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 10 of 19



 1     schedule you're proposing?

 2                     MR. BENNETT:      Mr. Washburn and I, as he

 3     mentioned, have had a few discussions on this.                  What

 4     we've initially proposed is that the United States'

 5     response memorandum would be due on January 31st as to

 6     the substantive issues in the motion.

 7                     There was something I think that

 8     Mr. Washburn alluded to just a moment ago regarding

 9     any -- to see whether Mr. Hirata's declaration should be

10     sealed.     And we had discussed the date of December 29th

11     for the United States to respond to whether that should

12     remain under seal or whether it matters at all.                  But

13     having just received this, this is something that we're

14     just trying to initially go through.             And I believe that

15     we had agreed that on February 28th, at least

16     preliminarily, would be the due date for the reply

17     memorandum from Mr. Diehl.          Now, that may be -- if

18     there's something along those lines that we find that

19     they need more time, I would absolutely be willing to

20     grant Mr. Washburn extra time.            I think --

21                     THE COURT:     What would be a reasonable date

22     to set for production of the grand jury transcripts?

23                     MR. BENNETT:      Those are -- I think we have

24     those ready to go, and so I think a week from today

25     would probably be ample.          If I'm wrong, I will let the



                                                                              10
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 11 of 19



 1     court know, but I'm fairly certain we should be able to

 2     produce them by then.

 3                     THE COURT:     Say the 20th of December.

 4                     MR. WASHBURN:        And, Your Honor, just a point

 5     of clarification because you ordered that the grand jury

 6     transcripts would be produced to the court and not the

 7     public, I assumed, although -- I assume that's not to

 8     me.

 9                     THE COURT:     No.     They need to go to you as

10     well.

11                     MR. WASHBURN:        Okay.    Thank you.

12                     THE COURT:     Yes.

13                     MR. BENNETT:      Okay.      My understanding was

14     that the only thing was allowed is to go to the court

15     and not to counsel because these are ex parte.                   That's

16     what the statute says, ex parte to the court.                   I have

17     yet to see -- maybe there is out there, but none of the

18     cases I've read would allow those to go to counsel yet.

19     It's always been in camera review ex parte for the

20     court.

21                     MR. WASHBURN:        I think, Your Honor -- I

22     think what Mr. Bennett is referencing there -- and there

23     are two different statutory regimes that we could

24     potentially be working under.             One is under EAJA.        And

25     if you look at the discovery provision under EAJA, it



                                                                                 11
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 12 of 19



 1     does talk about production of classified materials and

 2     other things, including matters occurring before the

 3     grand jury, and directs that those matters would be

 4     presented and kept in camera and kept under seal.               Now,

 5     I haven't looked at -- frankly, the Hyde Amendment

 6     cases, Your Honor, are so few and far between that

 7     there's not a very well developed juris prudence.

 8                     A second statutory regime, since we are

 9     talking about matters occurring before the grand jury,

10     Rule 6(e) itself provides a mechanism upon the request

11     of the defendant, which I think we just had here, for

12     the court to order the disclosure of any grand jury

13     materials that are -- and I'm going to lose the exact

14     phrase from the statute, Your Honor, but something like

15     preliminary to or in association with litigation.               And

16     under Rule 6(e) you see a number of cases where, for

17     example, the court gets a request from a private

18     litigant to have something disclosed in the context of

19     say an IRS audit, or something along those lines, and

20     the court considers that and discloses those materials

21     to the defendant under Rule 6(e).             So I think Rule 6(e)

22     has a mechanism where the court could order it

23     disclosed.

24                     Although, I agree with Mr. Bennett that if

25     he's just talking about the Hyde Amendment, there is



                                                                              12
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 13 of 19



 1     this discussion of -- and it's 3006(a), I believe.              But

 2     so I think the court could order it, could order the

 3     disclosure of matters occurring before the grand jury

 4     and that those be produced to us.             I think if we were

 5     dealing with one of the other categories under the Hyde

 6     Amendment, such as classified materials or the like,

 7     then I don't think the court would have the ability

 8     because there wouldn't be a separate statutory or

 9     rule-based regime for the court to rely on in ordering

10     the disclosure.

11                     THE COURT:     I think the question is whether

12     or not they should be disclosed to the public is one we

13     don't have to resolve at this point.             There may come a

14     time in which the court concludes, or the parties

15     conclude that the grand jury materials should be

16     disclosed to the public, but we're not at that stage

17     yet.    But I do believe that in order for Mr. Diehl to be

18     able to argue the basis for his Hyde Amendment motion,

19     Mr. Washburn needs to see what was presented to the

20     grand jury because part of the basis of his argument is

21     that there was misrepresentations to the grand jury, or

22     failure to disclose relevant information to the grand

23     jury.    I don't know how he can make that argument to the

24     court without seeing what was said to the grand jury.

25                     MR. BENNETT:      May I make a proffer on that?



                                                                             13
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 14 of 19



 1                     THE COURT:     Sure.

 2                     MR. BENNETT:      This isn't atypical.          We run

 3     into this situation, for example, in freedom of

 4     information act cases.         What we do there is produce a

 5     Vaughn Index where the court can have in camera review

 6     of the things the United States has billed and the

 7     opposing party to the FOIA motion is able to say, well,

 8     based on this, we don't think these exemptions apply

 9     because of this reason.          We would produce an index as

10     opposed to actually producing the material because the

11     way -- at least what I've seen in the Hyde Amendment is

12     that because it specifically applies in this situation,

13     my understanding is what it says is it's only ex parte

14     in camera review for the court, not for disclosure to

15     the parties even.        I think Gardner, the case out of the

16     Western District of Oklahoma, was then Judge Holmes,

17     talks about that standard fairly thoroughly.

18                     But that's why I think at this point in time

19     what I would propose is we can produce some sort of a

20     privilege index or something to that effect that would

21     at least provide notice to Mr. Washburn to be able to

22     make an argument without disclosing the material under

23     6(e).    I think it harmonizes the statute better.

24                     THE COURT:     Let's proceed in this manner:

25     Let's have the United States produce the transcripts to



                                                                                14
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 15 of 19



 1     the court on December 20th.           Produce the appropriate

 2     index that you've described with a list of privileged

 3     material.     Mr. Washburn at that point can move the court

 4     for disclosure to himself and the United States can

 5     determine if they're going to oppose that.               Does that

 6     make sense?

 7                     MR. BENNETT:      Yes, Your Honor.

 8                     MR. WASHBURN:      It does, Your Honor.         And

 9     perhaps that time of year's going to be a little bit

10     odd, but we had -- we had discussed and I think

11     Mr. Bennett had mentioned that he was contemplating a

12     deadline for them to oppose the disclosure on

13     Mr. Hirata's declaration on the 29th.              Perhaps we

14     should -- just to get deadlines out there -- give

15     ourselves a deadline of -- give me a deadline of the

16     29th to move for disclosure under the grand jury so

17     we're moving this process along.            Does that make sense?

18                     THE COURT:     I agree with that.        I mean I

19     don't -- we obviously don't want to delay this

20     litigation longer than necessary, but there's not --

21     it's not critical that we do this on such a schedule

22     that both sides don't a have full opportunity to fairly

23     argue their positions, and so we should set the schedule

24     with that in mind.        So if that schedule works for you,

25     Mr. Washburn, let's make that the schedule.



                                                                             15
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 16 of 19



 1                     MR. WASHBURN:        It does, Your Honor.

 2                     Your Honor, I would also note one other

 3     issue, and I apologize if the court had something

 4     that --

 5                     THE COURT:     No.

 6                     MR. WASHBURN:        One other issue that comes up

 7     is there is one specific instance of a matter occurring

 8     before the grand jury material that the court had raised

 9     in its order of November 16th, whether it ought to be

10     made part of the public record, and that -- I assume

11     that Mr. Bennett will be talking about this on the

12     December 29th, but I just wanted to flag that the

13     declaration at issue goes in pretty great detail --

14     well, not in great detail, but into some detail, and our

15     response to it goes into rather more detail into some

16     matters occurring before the grant jury there.                  So that

17     will probably be a different cutout of matters occurring

18     before the grand jury, specifically the testimony of the

19     accountant than the rest of this that we're

20     contemplating right now.

21                     MR. BENNETT:      That's a good point,

22     Mr. Washburn, because some of those matters that

23     occurred before the grand jury had been disclosed

24     pursuant to the Jencks Act.            So what we're talking about

25     is those that haven't been disclosed yet because there



                                                                                 16
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 17 of 19



 1     wasn't a Jencks Act obligation to disclose those.

 2                     THE COURT:     All right.      So does that take

 3     care of the issues we need to address before we move

 4     forward?

 5                     MR. WASHBURN:      I think so.      I just want to

 6     make sure I understood.          Mr. Bennett -- so the 29th

 7     would be his response as to Mr. Hirata's declaration,

 8     would be our response to -- you know, requesting the

 9     disclosure to us of materials -- of grand jury materials

10     produced.     And then I didn't get down in my notes, so I

11     apologize, the date when they plan to file their

12     substantive response on the Hyde Amendment.

13                     THE COURT:     I think January 31st.

14                     MR. BENNETT:      Correct.

15                     MR. WASHBURN:      Perfect.

16                     THE COURT:     Your response would be due the

17     end of February, February 28th.            Do you have all of

18     those dates, Tracy?

19                     THE CLERK:     I do.

20                     THE COURT:     Okay.

21                     Anything else we should discuss today before

22     we recess?

23                     MR. WASHBURN:      Just briefly, Your Honor, our

24     schedule doesn't contemplate it, and I know the United

25     States will probably take a position related to this,



                                                                            17
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 18 of 19



 1     but I suppose what we do then is figure out whether we

 2     need any sort of evidentiary hearing or any sort of

 3     discovery after that round of briefing.              I think that's

 4     what Mr. Bennett had suggested because --

 5                     THE COURT:     My view is that once we get the

 6     briefing, we'll have a discussion about whether we --

 7     how we set the hearings and whether we have an

 8     evidentiary hearing.         It may well be with the

 9     declarations and the supporting materials everything's

10     before the court.        If it's not, one or the other side

11     wants to present materials, we'll consider it at that

12     point.

13                     MR. WASHBURN:         Perfect.

14                     THE COURT:     I mean if that satisfies the

15     parties, so I think that's how we should proceed.

16                     MR. WASHBURN:         It does.   Thank you, Your

17     Honor.     And nothing else from Mr. Diehl.

18                     MR. BENNETT:         Nor from the United States.

19                     THE COURT:     We will be in recess.

20                     (Whereupon, the matter was concluded.)

21                                      *     *   *

22

23

24

25



                                                                             18
     Case 2:17-cr-00208-CW Document 158 Filed 12/28/17 Page 19 of 19



 1                          C E R T I F I C A T E

 2

 3     State of Utah

 4     County of Salt Lake

 5

 6               I, Karen Murakami, a Certified Shorthand Reporter

 7     for the State of Utah, do hereby certify that the

 8     foregoing transcript of proceedings was taken before me

 9     at the time and place set forth herein and was taken

10     down by me in shorthand and thereafter transcribed into

11     typewriting under my direction and supervision;

12               That the foregoing pages contain a true and

13     correct transcription of my said shorthand notes so

14     taken.

15               IN WITNESS WHEREOF, I have hereunto set my hand

16     this     28th day of December, 2017.

17

18

19                                               Karen Murakami

20                                           Karen Murakami, CSR, RPR

21

22

23

24

25



                                                                        19
